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                      UNITED STATES COURT OF APPEALS                       FILED
                                FOR THE NINTH CIRCUIT                       OCT 17 2024
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
 KARLA MAREE; MOURAD GUERDAD,                     No. 23-55795
 on behalf of themselves and all others
 similarly situated,                              D.C. No. 8:20-cv-00885-SVW-MRW
                                                  Central District of California,
        Plaintiffs-Appellees,                     Santa Ana

   v.                                             ORDER

 JANA CASTANARES; DENNIS
 CASTANARES,

        Objectors-Appellants,

   v.

 DEUTSCHE LUFTHANSA A.G.,

        Defendant-Appellee.

 Before: S.R. THOMAS, WARDLAW, and COLLINS, Circuit Judges.

        Objectors-Appellants’ motion to file a late reply brief (Dkt. No. 84) is

 granted, and the sealed unredacted reply brief submitted at Docket Entry 87 shall

 be filed. Defendant-Appellee’s unopposed motions (Dkt. Nos. 82, 83, 88, 89) to

 maintain specified documents under seal are granted. The Clerk will maintain

 under seal Docket Entries 77 and 87. Within 21 days of this order, Objector-

 Appellants must submit for public filing a redacted version of the sealed reply brief

 (Dkt. 87) that track the redactions set forth in the motions to maintain that
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 document under seal. The page numbering and citations in the public version must

 remain the same as in the sealed version. Objector-Appellants shall submit to the

 principal office of the Clerk, for delivery on or before October 22, 2024, six (6)

 copies of the unredacted reply brief in paper format with gray covers, accompanied

 by certification (attached to the end of each copy of the brief) that the brief is

 identical to the version submitted electronically.




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